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                                                      Affidavit of Truth

         Living Testimony in Affidavit form, under affirmation of penalty of perjury and demand
         NOTICE for failure to provide NOTICE and other violation of unalienable Rights, Civil Rights,
         RICO.

                                           NOTICE to Principal is NOTICE to Agent

                                           NOTICE to Agent is NOTICE to Principal

                                           NOTICE to One is NOTICE to Everyone!




         1- I'm a private living man,: Known as one of the People. lsaacky the common man by babtism
         and private; lsaacky Gavrilovich of the family Sha ripoff and as beneficiary to the Private
         Membership Association, THE STRAW MAN; also known as ISAACKY GAVRILOVICH SHARIPOFF.

            That in FACT I'm in this court only because of DEFAULT on the defendants silence, as the
         EXHIBIT (P) dated 07-18-2018,and EXHIBIT (R) dated 09-05-2018 mentioned seth fort they are
         in existance in the TORT CLAIM division of Oregon and the TORT CLAIM division is silent
         because they know they ADDMIT DEFAULT ,for this addmission and confession we agree for the
         Jury trial.

           " As long as the Constitution endured, this supreme Court must exist with it, deciding in
         peaceful forms of judicial proceedings the angry and irritating controversies between
         sovereignties." --Judge Taney

         POINT: If The "Individual People" were not the true Sovereigns, how could he say this?(above)
         This is a "Proof" that the Individual People are the TRUE SOVEREIGNS above government!!

         Persons VS. People (Artificial Persons VS. Natural Persons)

             "The word "persons in legal terminology is perceived as a general word which normally
         includes in it's scope a veriety of entities other than human beings. See e.g 1 U.S.C. ss 1. Church
         of scientology V. U.S. Dep. of Justice (1979) 612 F 2d 417, 425.

             Citizenship (State V. Federal or U.S.)

             "Wile the 14th Ammendment does NOT create a national citizenship, it has the effect of
         making that citizenship 'paramount and dominant' "-- Supreme Court, Colgate VS. Harvey 296
         U.S. 404,427; 80 L. Ed. 299 1935; See page 309 Lawyers Ed.

         United States of America VS. UNITED STATES INC.
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      "Governments descend to the level of mere private corporation and take on the
     characteristics of a mere private citizen ... Where private corporate commercial paper [federal
     reserve notes] and securities [checks] is concerned ... For purposes of suit, such corporations and
     individuals are regarded as entities entirely separate from government. Clearfield Trust
     Company V. United States, 318 U.S. 363-371, (1942). See Note.

               Note: The Clearfield Doctrine is stare decisis* upon all courts, and imposes that "an
     entity cannot compel performance upon its corporate statutes or corporation rules unless it,
     like any other corporation, is the Holder in Due Course of some contract or commercial
     agreement between it, and the one on whom its demands for performance are made, and is
     willing to produce said document, and to place the same into evidence before trying to enforce
     its demand.

               *STARE DECISIS. n. [Latin "to stand by things decided"] The doctrine of precedent,
     under which it is necessary for a court to follow earlier judicial decisions when the same points
     arise again in litigation. Black's 7th.

      "When governments enter the World of commerce, they are subject to the same burdens as
     any private firm or corporation" -- U.S. V. Burr, 309 U.S. 242. See: 22 U.S.C.A.286e, Bank of U.S.
     vs. Planters Bank of Georgia, 6L, Ed. (9 Wheat) 244;.22 U.S.C.A. 286 et seq., C.R.S. 11-60-103.

         So you Joseph C Miller File a written "Notice of Appearance", so NOT only in this court but in
     all courts and every case u represent that you as a lawyer admitting to all the courts that you
     are a Foreign Agent and you requesting permission to represent in the corporate courts, your
     contracts with the lawyer gives you "your sovereign power of attorney to represent your best
     intrest and immediately uses it against your self by admitting to the judge that you exept
     jurisdiction and decisions of the corporate court! (so much on winning on my appeals). This
     group is a brotherhood and these corporate courts are a business and everything is about
     commerce! People are regarded as nothing more than corporate property!.

        The America B.A.R. Association is actually a branch of the, National Lawyers Guild
     Communist Party, which can only be located in the hard copy printing of 28 USC 3002, section
     15a. The on-line version of Title 28 USC has been altered by the Attorney General to read
     entirely different, apparently because this fact has recently shown up in too many private court
     petitions and memorandums of Law.

        To become a member of the American B.A.R. Association, applicants must have obtained a             I

     Doctorate in Law or the equivalent thereof and passed an examination designed to test the             II
     depht of their indoctrination. If they pass, they are required to surrender their American
     Citizenship and swear allegiance to the Queen of England and not the Constitution! This means         I
     that all carrying American lawyers are foreign agents, liars, traitors and ·communist!



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No wonder Jesus warned us about, "lawyers!" - Luke 11:42 to 53, Woe on to you judges and
lawyers experts in law.

   Violence perpetrated by the defendants Jason Myers et.al. becomes similar to KU KLUX
KLAN, conspiratorial violence practiced if "NOT" even worst as the agents Defendants work for
the Oregon State. Of course we can visualize State officia·ls in secret torture People, such
Defendants are subject to threats & intimidation.

    Do to tha FACTS of Good Faith which at the State level dont exist or ineffective at State in
TORT CLAIMS and Redress of grievancess dont exist!. ·

   Ku Klux Klan => meaning "circle" and unconstitutional.

   The Defendants attack on individual Rights, absent equal protection or Due Process,
vigilante groups in Jail knowing when to do it as the other inmates are a sleep.

   Article Ill court in America and/or international courts of justice, without your protest or
objection, or that of those who represent you. Your silence is your acquiescence. [Connaly V.
General Construction Co., 269 U.S. 385, 391]. Notification of legal responsability is "the first
essential of due process of law. " [U.S. V. Tweel, 550 F. 2d. 297.] "Silence can only be equated
with fraud where there is a legal or moral duty to speak or where an equity left unanswered
would be intentionally misleading." You swore an oath to uphold and support the The United
States of America Constitution, circa 1819 thru 1860-61 the Original Oregon Constitution, and
pursuant to your oaths, you are required to abide by that oath in the performance of your
official duties as public servants. You have no Constitutional or other valid authority to defy the
Constitutions, to which you owe your LIMITED authority, delegated to you by and through the
People, and to which you swore your oaths. By your unlawful actions, specifically enumerated
and described up above all other documents sent to you, you acted in sedition and insurrection
against the Constitutions, both federal and State, violated treaty laws (supreme Law of the
Land) and committed treason against "We the People." So you will agree even before the jury
that you refused to answer my questiones and rebut all Affidavits sent to you mentioned up
above?.

   Lawful notification has been provided to the defendants in numerous occasions. If you et.al.
refuse timely rebut the statements, declarations, and averments made in this
Testimony/Affidavit/Declaration, Then you agree with and admit to them. Pursuant to this
lawful notification, if you desagree with anything stated in this Affidavit/Declaration of Truth,
you are required to rebut that with which you desagree, with prticularity within twenty one
(21) days of receipt thereof, by means of your written, notarized Affidavit of Truth, based upon
specific, revelant fact and valid, Constitutionally compliant Law, specific to the Bills of Rights, to
support your desagreement. Along with your rebutting Affidavit, you are required to provide a
certified copy of your Oath of Office; public hazard bond information including contact, badge#

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I



        if applicable; Foreign Agent Registration, evidence that support them, are not repugnant to the
        Constitutions specific to the Bill of Rights, not in violation to Treaties, and that they apply to
        private living People. I reserve my unlimited, unalienable Right not to be compelled to perform
        to the terms of any unrevealed contract or commercial agreement that I did not enter
        knowingly, voluntarily and intentionally. Furthermore, I do not accept nor consent to the
        liability associated with the compelled benefit of any unrevealed contract or commercial
        agreement.

           Evident, this becomes knowledge to the Judge. "We the People" in the Oregon State notify
        and demand this Defendants and the government to provide Due Process of Law of our
        Constitutions: Failure to provide due process and other violations of unalienable Rights, Civil
        Rights and RICO. All Due process violations of governing law are punishable 18 USC 3571 and
        other codes, thus of our unalienable Rights guaranteed by our Constitutions c1859.

           Failure to respond, you et.al Defendants (as you usually do) There is admission and
        confession that you agree to pay the amount mentioned in all other Documents, and there is
        no judge no jury that could substitute this Truth which you agree by your silence absent your
        protest.

        All Rights reserved,·

        without prejudice, UCC 1-308,Good faith UCC 1-203. B y : ~                     ~t
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                                                               JURAT          j          ,,.::;;J'
        On Oregon within The United States of America, without the state of'oregq~fflJtfff{~t the united
                                                                                              0
        states, without County of Oregon.                                          ·;:,:..:\,; •

        Subscribed and sworn by: lsaacky Gavrilovich Sha ripoff proved to me on the basis of satisfactory
                                !'/-flt
        evidence before me, this-   -
                                        day of rekv{J,r)'I
                                                                                  , 2019.


        ~
                                                                                   OFFICIAL STAMP
                                                                            MARICELA GONZALEZ MERINO
                                                                                                          ·---·1
        Notary Public
                                                                              NOTARY PUBLIC - OREGON
                                                                               COMMISSIONNO. 969315
                                                                                                                   I
                                                                  MY COMMISSION EXPIRES DECEMBER i 0, 2021         I


        My commission expires


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